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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    ADRIAN A. SAMPSON, an individual,                   Case No.: 17cv233-GPC(BGS)
12                                       Plaintiff,
                                                          ORDER DENYING PLAINTIFF’S
13    v.                                                  MOTION TO EXCLUDE EXPERT
                                                          TESTIMONY AND REPORT OF
14    VITA-MIX CORPORATION, an OHIO
                                                          MATTHEW F. CARROLL, M.D.
      Corporation,
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                                       Defendant.         [Dkt. No. 31.]
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            Plaintiff filed a motion to preclude expert testimony and report of Matthew F.
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      Carroll, M.D. in conjunction with Defendant’s motion for summary judgment. (Dkt. No.
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      31.) The motion is fully briefed. Dr. Carroll’s declaration is cited to in the introduction
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      of the motion for summary judgment and in Defendant’s separate statement of undisputed
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      facts. (Dkt. No. 34-1 at 8; Dkt. No. 39-1, D’s Reply to P’s Response to D’s SSUF at 2-
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      3.) Plaintiff objected to the separate statement of undisputed facts arguing that Dr.
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      Carroll’s opinions are not material or admissible and cite to their motion to exclude.
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      (Dkt. No. 39-1, D’s Reply to P’s Response to D’s SSUF at 2-3.) Defendant replied
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      stating these “introductory facts were offered for general background and not as material
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      facts necessary to any of the issues raised in this motion for summary.” (Id.) The
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      Scheduling Order in the case provides that “other pretrial motions, including those
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                                                                                   17cv233-GPC(BGS)
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 1    addressing Daubert issues related to dispositive motions must be filed by March 5,
 2    2018.” (Dkt. No. 16.) Since Dr. Carroll’s opinion is not relevant to the motion for
 3    summary judgment, the Court DENIES Plaintiff’s motion to exclude subject to refiling
 4    once the Court sets a hearing on motions in limine at the pretrial conference.
 5          IT IS SO ORDERED.
 6    Dated: June 21, 2018
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